                 IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                                3:12cv___
                               [ 3:01cr216]

GERALD STEELE,                                     )
                                                   )
                     Petitioner,                   )
                                                   )
Vs.                                                )             SIMMONS SCREENING
                                                   )                  ORDER
UNITED STATES OF AMERICA,                          )
                                                   )
                 Respondent.                       )
_______________________________                    )

       THIS MATTER is before the court on petitioner’s pro se motion for relief under

Simmons (#363). Although filed in the criminal action, the court has considered the pending

motion and determined that, to the extent petitioner seeks relief under 28, United States

Code, Section 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal

Custody, an initial screening of the petition under the Rules Governing § 2255Proceedings,

Rule 4(b) 28 U.S.C. §2255 is appropriate. The court finds, as follows:

       1.     The petition has not been signed under penalty of perjury, Rule 2(b)(5) of the

Rules Governing Section 2255 Proceedings;

       2.     Petitioner has arguably asserted that jurisdiction exists under § 2255(f)(3),

which may require further review if this matter were to move forward;

       3.     In accordance with § 2255(a), the court has conducted an initial screening,

which reveals that petitioner has made a 21 U.S.C. § 841(b) sentencing enhancement claim

under Simmons, inasmuch as petitioner contends that he received a sentencing enhancement

based on a now non-qualifying North Carolina offense, to wit, that petitioner received an

enhanced minimum sentence under 21 U.S.C. § 841(b)(1)(a).

       Based on such findings, the court concludes that petitioner has not asserted a colorable




      Case 3:01-cr-00216-MOC         Document 390        Filed 11/05/12    Page 1 of 2
claim inasmuch as under United States v. Powell, ___ F.3d ___, No. 11-6152 (4th Cir. Aug.

20, 2012), an enhanced minimum sentence under § 841(b)(1)(a) is a lawful sentence as it is

within the unenhanced statutory maximum.



                                        ORDER

      IT IS, THEREFORE, ORDERED that

      (1)    petitioner’s claim of receiving an enhanced minimum sentence under 21

             U.S.C. § 841(b)(1)(a) that is within the statutory maximum, such claim is

             summarily DENIED;

      (2)     the pro se motion for relief under Simmons (#1) herein (and (#363) in

             3:01cr216) is DENIED; and

      (3)    this action is TERMINATED.



      The Clerk of Court is instructed to send a copy of this Order to the United States

Attorney, attention AUSA Ray.



                                            Signed: November 5, 2012




      Case 3:01-cr-00216-MOC       Document 390       Filed 11/05/12    Page 2 of 2
